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NORTHERN DISTRICT OF IOWA, CENTRA.L DIVISI¢([\L/l;& x 'C § T V 01

AsA-BRANDT, INC. ama AsA-BRANDT
PART_NERSHIP, er al.,

 

Plaint'\ffs, _ _
v. . - ` ~ No. Col-sozl-MWB
AJ)M mvEs'roR sERvIcEs, INC., er aL,

 

_ Defendants.
DANIEL De_WAARD, et al.,
Plaintiffs,

v. ° - ‘ Nn. c01-3022-MWB
AI)M mVESToR sERvIc_ES, INC., el ar., l

 

Defendants.
JAY GUNDERSON, er aL,
" Plai_ntiffs, .
f v. No. col-`sozs-MW.B '

ADM INYESTOR SERVICES, INC., et aL,

 

 

 

Defendants.
DAN ABELS, ¢¢ ar., }
Plaintiffs,
v. ' ` 4 ' No. C01-3024-MWB
` ‘ ADM_INvEsToR SEIWICES, 1NC., er az.,
Defendamts. - “
.r l n . . - AGREED om)ER oF DISMJSSAL

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'I'l-IIS MATTBR COI\/I]NGbefore the Court by agreement of the parties to each of the above- `
l captioned actions, the Court having been advised in its premises; n

IT IS HEREBY ORDERBD that each of the above-captioned lawsuits is hereby dismissed
with prejudice with all parties to bear their ovvn eosts, all matters in centroversy by and between
Plaintiffs- and Defendants having been fully compromised and settled', provided, however, that
Plaintiffs shall have leave to reinstate the lawsuit within thirty (30) days if the Settlement Amount _
has not been paid by ADMIS consistent with the terms of the Settlernent Agreement and Release
entered into by the parties

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ENTER.ED :

M,.,Gt) w

Honorable Mark W. Bennett,
United States Distriet Cour|: Judge

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Prepared by: . ,_ m _
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